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           Exhibit P-2
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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

____________________________________
                                    :
SUSAN BYRNE,                        :          C.A. NO. 3:17-CV-01104 (VLB)
           Plaintiff                :
v.                                  :
                                    :
YALE UNIVERSITY,                    :
           Defendant                :          DECEMBER 30, 2019
___________________________________ :


    PLAINTIFF’S OBJECTIONS TO DEFENDANT’S PROPOSED WITNESSES


Witness Name   Plaintiff’s Objection         Defendant’s Response
Julie Dorsey   Unfair Prejudice and Lay      Professor Dorsey served on the
               Opinion. Federal Rules        committee appointed to review
               of Evidence 403, 701.         Plaintiff’s appeal, which is a
               Hester v. BIC, 225 F.3d       procedure provided in Yale’s
               178 (2d Cir. 2000).           Faculty Handbook (Pl’s Ex. 2 pp. 17
                                             et seq.; Def’s Ex. ME pp. 22 et seq.)
               To the extent that Ms.        and is part of Yale’s tenure
               Dorsey was not involved       procedures insofar as Plaintiff was
               in Plaintiff's allegations    seeking reversal of her
               of retaliation, it is not     Department’s unfavorable tenure
               apparent how her              vote. Accordingly, Professor
               testimony would be            Dorsey was a participant in
               relevant to that issue,       Defendant’s internal appeal
               and it would also be          decisionmaking process as to
               cumulative. To the            Plaintiff’s tenure case. The Federal
               extent that Ms. Dorsey        Rules and Hester case do not
               intends to offer her views    require a different result. Hester,
               or opinions on Plaintiff's    225 F.3d at 184-85 (holding
               allegations of retaliation,   inadmissible “naked speculation”
               breach of contract or         concerning defendant’s motivation
               negligent                     for the challenged actions, and
               misrepresentation, it         noting that witnesses involved the
               would be impermissible        decisionmaking process or
               lay opinion testimony.        personally knowledgeable about it
               See Plaintiff's Motion in     may testify accordingly). Indeed,
               Limine.                       Professor Dorsey will not offer an
                                             opinion as to the motivation of
                                             those who voted on Plaintiff’s


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               Finally, this witness was     tenure case; rather, she will testify
               not disclosed as              to the work of the committee, its
               knowledgeable about any       conclusions, and the bases
               matter in this case until     therefor. Finally, this witness was
               December 20, 2019,            well-known to Plaintiff, as she
               which was too late to         interacted with the Committee in
               permit Plaintiff to explore   2016 and, for example, specifically
               her alleged knowledge         referenced Professor Dorsey by
               during discovery through      name in her letter dated August 10,
               deposition.                   2016 (Pl’s Ex 229). Moreover, in an
                                             email dated October 18, 2017,
                                             Plaintiff’s counsel expressly
                                             identified Professor Dorsey as a
                                             custodian in the parties’ e-
                                             discovery process, and Defendant
                                             accepted Plaintiff’s request to
                                             include Professor Dorsey in the e-
                                             discovery searches and produced
                                             responsive documents pursuant
                                             thereto. For Plaintiff now to claim
                                             that she was unaware of Professor
                                             Dorsey’s involvement is
                                             disingenuous at best, and this
                                             objection should be rejected.
Steven         Unfair Prejudice and Lay      Professor Wilkinson chaired the
Wilkinson      Opinion. Federal Rules        committee appointed to review
               of Evidence 403, 701.         Plaintiff’s appeal, which is a
               Hester v. BIC, 225 F.3d       procedure provided in Yale’s
               178 (2d Cir. 2000).           Faculty Handbook (Pl’s Ex. 2 pp. 17
                                             et seq.; Def’s Ex. ME pp. 22 et seq.)
               To the extent that Mr.        and is part of Yale’s tenure
               Wilkinson was not             procedures insofar as Plaintiff was
               involved in Plaintiff's       seeking reversal of her
               allegations of retaliation,   Department’s unfavorable tenure
               it is not apparent how his    vote. Accordingly, Professor
               testimony would be            Wilkinson was a participant in
               relevant to that issue,       Defendant’s internal appeal
               and it would also be          decisionmaking process as to
               cumulative. To the            Plaintiff’s tenure case. The Federal
               extent that Mr. Wilkinson     Rules and Hester case do not
               intends to offer his views    require a different result. Hester,
               or opinions on Plaintiff's    225 F.3d at 184-85 (holding
               allegations of retaliation,   inadmissible “naked speculation”
               breach of contract or         concerning defendant’s motivation
               negligent                     for the challenged actions, and
               misrepresentation, it         noting that witnesses involved the

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               would be impermissible      decisionmaking process or
               lay opinion testimony.      personally knowledgeable about it
               See Plaintiff's Motion in   may testify accordingly). Indeed,
               Limine.                     Professor Wilkinson will not offer
                                           an opinion as to the motivation of
               Finally, this witness was   those who voted on Plaintiff’s
               not disclosed as            tenure case; rather, he will testify to
               knowledgeable about any the work of the committee, its
               matter in this case until   conclusions, and the bases
               December 20, 2019,          therefor. Finally, this witness was
               which was too late to       well-known to Plaintiff, as she
               permit Plaintiff to explore interacted with the Committee in
               his alleged knowledge       2016 and, for example, specifically
               during discovery through referenced Professor Wilkinson by
               deposition.                 name in her letter dated August 10,
                                           2016 (Pl’s Ex 229). Moreover, in an
                                           email dated October 18, 2017,
                                           Plaintiff’s counsel expressly
                                           identified Professor Wilkinson as a
                                           custodian in the parties’ e-
                                           discovery process, and Defendant
                                           accepted Plaintiff’s request to
                                           include Professor Wilkinson in the
                                           e-discovery searches and produced
                                           responsive documents pursuant
                                           thereto. For Plaintiff now to claim
                                           that she was unaware of Professor
                                           Wilkinson’s involvement is
                                           disingenuous at best, and this
                                           objection should be rejected.
John Dovidio   Unfair Prejudice and Lay Dean Dovidio will testify about his
               Opinion. Federal Rules      personal involvement in and
               of Evidence 403, 701.       knowledge of the matters at issue
                                           in this case, based on his role in
               See Plaintiff's Motion in   the decisionmaking processes.
               Limine.                     Defendant does not intend to use
                                           this witness to offer “naked
                                           speculation” concerning the
                                           motivation for the unfavorable
                                           tenure vote. See Hester, 225 F.3d at
                                           184-85.
Tamar          Unfair Prejudice and Lay Dean Gendler will testify about her
Gendler        Opinion. Federal Rules      personal involvement in and
               of Evidence 403, 701.       knowledge of the matters at issue
                                           in this case, based on her role in
                                           the decisionmaking processes.

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                       See Plaintiff's Motion in   Defendant does not intend to use
                       Limine.                     this witness to offer “naked
                                                   speculation” concerning the
                                                   motivation for the unfavorable
                                                   tenure vote. See Hester, 225 F.3d at
                                                   184-85.
 Amy                   Unfair Prejudice and Lay    Dean Hungerford will testify about
 Hungerford            Opinion. Federal Rules      her personal involvement in and
                       of Evidence 403, 701.       knowledge of the matters at issue
                                                   in this case, based on her role in
                       See Plaintiff's Motion in   the decisionmaking processes.
                       Limine.                     Defendant does not intend to use
                                                   this witness to offer “naked
                                                   speculation” concerning the
                                                   motivation for the unfavorable
                                                   tenure vote. See Hester, 225 F.3d at
                                                   184-85.

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